Case 18-02231-als7         Doc 10   Filed 10/19/18 Entered 10/19/18 11:45:40        Desc Main
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                             IC>H98!GH5H9G!65C@FIEH7L!7DIFH!
                                GDIH=9FC!8>GHF>7H!D;!>DK5!
                                    89G!BD>C9G!8>J>G>DC

>C!F93                                          $   7N_R!C['!*1&)++,*&NX_0
                                                $
GH9J9C!7!@9LG!"!CDFB5!?!@9LG%                   $   7UN\`R^!0
                                                $
                                                $
                                                $
8RO`[^_'                                        $

                         "**%","(#%!"($!,%+/%-.!&),!().'#%

           7DB9G!CDK!!`UR!aZQR^_VTZRQ!N``[^ZRe%!7'!5Z`U[Ze!!7^ZVP%![S!`UR!XNc!SV^Y![S!HUR!GNeR^
 ANc!<^[a\%!E'7'%!NZQ!UR^ROe!RZ`R^_!NZ!N\\RN^NZPR!N_!N``[^ZRe!S[^!H=9!65C@!D;!C9K!LDF@
 B9AADC!;(@(5!H=9!65C@!D;!C9K!LDF@!N_!_aPPR__[^!VZ!VZ`R^R_`!`[!?E!B[^TNZ!7UN_R!6NZW%
 C'5'%!N_!H^a_`RR!S[^!7RZ`Rd!=[YR!9]aV`e!A[NZ!H^a_`!+)).&5'!

    85H983!DP`[OR^!MMMMM%!+)*1
                    19
                                             FR_\RP`SaXXe!_aOYV``RQ%
                                             H=9!G5L9F!A5K!<FDIE%!E'7'



                                               MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM
                                               7'!5Z`U[Ze!!7^ZVP
                                               AVPRZ_R(6N^!CaYOR^3!5H)))21/-
                                               2+.!9'!-`U!G`
                                               KN`R^X[[%!>5!.)0),&,2+.
                                               HRXR\U[ZR3!.*.&/.)&,)),
                                               ;NP_VYVXR3!,*2&+,+&/,-*
                                               `P^ZVP4_NeR^XNc'P[Y
                                               ONZW^a\`Pe4_NeR^XNc'P[Y
                                               5``[^ZRe_!S[^!H=9!65C@!D;!C9K!LDF@
                                               B9AADC!;(@(5!H=9!65C@!D;!C9K!LDF@
                                               N_!_aPPR__[^!VZ!VZ`R^R_`!`[!?E!B[^TNZ!7UN_R
                                               6NZW%!C'5'%!N_!H^a_`RR!S[^!7RZ`Rd!=[YR!9]aV`e
                                               A[NZ!H^a_`!+)).&5
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                               #%,.'&'#".%!)&!-%,0'#%

      >!UR^ROe!PR^`VSe!`UN`![Z!DP`[OR^!MMMM%!+)*1%!N!`^aR!NZQ!P[^^RP`!P[\e![S!`UR!S[^RT[VZT
                                          19th
"00+(2(.)+!(.*!&+15+34!$/2!%/4-)+!cN_!_R^bRQ!bVN!RXRP`^[ZVP!YRNZ_%!VS!NbNVXNOXR%![`UR^cV_R!Oe
^RTaXN^%!SV^_`!PXN__!YNVX!`[!`UR!S[XX[cVZT3!

 G`RbRZ!7!@Re_!"!C[^YN!?!@Re_                   GRNZ!@!=RV`YNZZ
 +*)!G!2`U!G`                                   +/!G[a`U!*_`!5bR'%!G`R'!,)+
 BN^_UNXX`[cZ%!>5!.)*.1                         BN^_UNXX`[cZ%!>5!.)*.1
 8RO`[^#_$                                      5``[^ZRe!S[^!8RO`[^#_$

 7UN\`R^!0!H^a_`RR                              I'G'!H^a_`RR
 8[ZNXQ!;'!CRVYNZ                               ;RQR^NX!6XQT'%!F[[Y!02,
 1)*!<^NZQ!5bR'%!G`R'!,0))                      +*)!KNXZa`!G`'
 8R_!B[VZR_%!>5!.),)2&1))-                      8R_!B[VZR_%!>5!.),)2




                                                (_(!#,2-34-.+!',+26//*!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                                                7U^V_`VZR!GUR^c[[Q
